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                                                                     Counterclaimant, Lindsey C. Hill
                        LAWYERS




                                                                  14
                                                                  15                                      UNITED STATES DISTRICT COURT
                                                                  16               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                  17 TREVOR BAUER,                                            Case No. 8:22-cv-00868 JVS (ADSx)
                                                                  18                         Plaintiff,                       Assigned for all purposes to the Hon.
                                                                                                                              James V. Selna
                                                                  19             vs.
                                                                                                                              DEFENDANT AND
                                                                  20 LINDSEY C HILL AND NIRANJAN                              COUNTERCLAIMANT LINDSEY
                                                                     FRED THIAGARAJAH,                                        C. HILL'S EX PARTE
                                                                  21                                                          APPLICATION FOR AN ORDER
                                                                              Defendants,                                     ALLOWING HILL TO FILE AN
                                                                  22                                                          UNREDACTED MOTION FOR
                                                                     LINDSEY C. HILL,                                         CONTEMPT IN THE SOUTHERN
                                                                  23                                                          DISTRICT OF OHIO TO COMPEL
                                                                              Counterclaimant,                                COMPLIANCE WITH SUBPOENA
                                                                  24                                                          AND AN ORDER EXTENDING
                                                                         vs.                                                  THE DISCOVERY CUTOFF TO
                                                                  25                                                          ALLOW FOR THE TAKING OF
                                                                     TREVOR BAUER,                                            THE DEPOSITION OF JANE DOE.
                                                                  26
                                                                              Counter-Defendant,                              Filed concurrently with [Proposed]
                                                                  27                                                          Order, Declaration of Michelle
                                                                                                                              Prescott, Declaration of Joe Gerling
                                                                  28
                                                                                                                          1
                                                                       I1938189-1 MER-5137                    EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
                                                                                                                                    UNREDACTED MOTION FOR CONTEMPT
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                                                                   1                                                 Action Filed:        April 25, 2022
                                                                                                                     Discovery Deadline: September 1, 2023
                                                                   2                                                 Pretrial Conference: January 22, 2024
                                                                                                                     Trial Date:          February 13, 2024
                                                                   3
                                                                   4                         MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   5 I.          INTRODUCTION
                                                                   6             Defendant and counterclaimant Lindsey Hill (“Hill”) submits this Ex Parte
                                                                   7 Application seeking an order allowing her to file an unredacted Motion for Contempt
                                                                   8 for Failure to Comply with a Deposition Subpoena in the United States District Court
                                                                   9 for the Southern District of Ohio (the "Motion for Contempt") and for an order
                                                                  10 extending the discovery cutoff to take the deposition of Jane Doe. Preliminarily, Hill
                                                                  11 does not seek to continue the January 22, 2024 Pretrial Conference or the February 13,
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                                                                  12 2024 trial date. Hill merely seeks an order allowing her to file the Motion for Contempt
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                                                                  13 in an unredacted form (i.e. including the personal identifying information of a non-
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                                                                  14 party currently identified as Jane Doe) out of an abundance of caution in light of the
                                                                  15 protective order in this action and for a brief extension of the discovery cutoff to allow
                                                                  16 for the deposition of Doe to move forward once the Motion for Contempt is granted.
                                                                  17             Hill has made several attempts to secure the attendance of Jane Doe ("Doe") an
                                                                  18 accuser with similar claims as Hills' against Plaintiff and Cross-Defendant Trevor
                                                                  19 Bauer ("Bauer"). In an effort to comply with this Court's Amended Stipulated
                                                                  20 Protective Order (Dkt. No. 78), Hill retained local counsel in the Southern District of
                                                                  21 Ohio where Doe resides, and filed a Motion to File Under Seal in order to (1) protect
                                                                  22 Doe's identity which has not been publicly disclosed, and (2) be able to file the Motion
                                                                  23 for Contempt to compel the deposition of Doe to obtain critical and highly relevant
                                                                  24 testimony and documents concerning Doe's relationship with Bauer without being
                                                                  25 forced to disclose her identity publicly which may violate the Amended Stipulated
                                                                  26 Protective Order. In an abundance of caution, Hill is seeking relief to be permitted to
                                                                  27 file the Motion for Contempt in Ohio in unredacted form, which will disclose the
                                                                  28 personal identifying information of Ms. Doe. (Declaration of Michelle R. Prescott
                                                                                                             2
                                                                       I1938189-1 MER-5137             EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
                                                                                                                             UNREDACTED MOTION FOR CONTEMPT
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                                                                   1 "Prescott Decl." ¶ 12.)(Declaration of Joseph Gerling "Gerling Decl." ¶ 6) The Court
                                                                   2 in the Southern District for Ohio denied Hill's Motion to File Under Seal, and Hill is
                                                                   3 left with no alternative means of compelling Doe's attendance at her deposition unless
                                                                   4 the relief requested is granted and Hill is allowed to file an unredacted Motion for
                                                                   5 Contempt that will identify Doe by name and include Doe's address.
                                                                   6             On September 1, 2023, at approximately noon, Plaintiff's counsel was provided
                                                                   7 notice of the ex parte application. (Prescott Decl. ¶ 13, Exh. F).
                                                                   8             A.          Hill Has Made Best Efforts to Take the Deposition of Doe While
                                                                   9                         Preserving Doe's Privacy and Complying with This Court's
                                                                  10                         Amended Stipulated Protective Order
                                                                  11             Hill has made multiple attempts to depose Doe and all of Hill's prior attempts
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                                                                  12 have been unsuccessful. On May 12, 2023, counsel for Hill drafted a Subpoena to
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                                                                  13 Testify at a Deposition in a Civil Action ("Original Subpoena") to Doe seeking critical
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                                                                  14 documents and deposition testimony directly related to this Action. (Prescott Decl. ¶
                                                                  15 3, Exh. A.) The deposition was noticed for June 1, 2023 via Zoom. (Id.) The Original
                                                                  16 Subpoena sought documents and deposition testimony concerning Doe's prior sexual
                                                                  17 relationship with Bauer as well as her allegations of sexual assault against Bauer. (Id.)
                                                                  18 Doe participated in the prior MLB arbitration concerning alleged sexual assaults by
                                                                  19 Bauer, and she alone is positioned to testify regarding her claims against Bauer. (Id.)
                                                                  20 It is critical to Defendant that Doe sit for her deposition and produce the documents
                                                                  21 requested by Defendant. (Id.)
                                                                  22             In response to the Original Subpoena, Bauer filed a Motion for Protective Order
                                                                  23 and to Quash Third Party Subpoenas ("Motion to Quash") on June 7, 2023. (Dkt. No.
                                                                  24 110). (Prescott Decl. ¶ 4). Bauer also filed an Application to file the Motion to Quash
                                                                  25 under seal on the same date. (Dkt. Nos. 111-114). (Id.) Pursuant to the Local Rules,
                                                                  26 Plaintiff and Defendant filed a Joint Stipulation Regarding the Motion to Quash on
                                                                  27 June 8, 2023 (Dkt. No. 115). (Id.) On June 28, 2023 the Court, after considering the
                                                                  28 Motion to Quash and related documents filed by the Parties, ruled that Defendant was
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                                                                   1 entitled to notice the deposition of Doe. (Dkt. No. 135). (Prescott Decl. ¶ 5).
                                                                   2             In light of the Court's ruling, counsel for Hill drafted an Amended Subpoena to
                                                                   3 Testify at a Deposition in a Civil Action ("Amended Subpoena") to Doe. The Amended
                                                                   4 Subpoena sought the same documents requested by the Original Subpoena. The
                                                                   5 deposition was noticed for August 17, 2023 via Zoom. (Prescott Decl. ¶ 6.) Doe was
                                                                   6 lawfully served with the Amended Subpoena by personal service on July 15, 2023.
                                                                   7 (Prescott Decl. ¶ 7.)
                                                                   8             Shortly thereafter, counsel for Hill attempted to contact Doe via text message to
                                                                   9 inform her of the subpoena and to request that Doe or her counsel contact counsel for
                                                                  10 Hill and confirm her availability for the August 17, 2023 date noticed for Doe's
                                                                  11 deposition. (Prescott Decl. ¶ 8). Shortly thereafter on or about August 2, 2023, Doe
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                                                                  12 called counsel for Hill and left a voicemail indicating that she would not be complying
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                                                                  13 with the Amended Subpoena and that she did not wish to be involved in this Action.
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                                                                  14 (Prescott Decl. ¶ 9.)
                                                                  15             Doe indicated that she was represented by Joe Tacopina, Esq. of Tacopina,
                                                                  16 Seigel, and Deoreo as her counsel of record. On July 26, 2023 counsel for Hill sent a
                                                                  17 letter to Mr. Tacopina regarding service of the Amended Subpoena and requesting that
                                                                  18 he confirm by close of business on July 28, 2023 whether he still represents Doe and
                                                                  19 whether Doe is available for her deposition noticed for August 17, 2023. (Prescott
                                                                  20 Decl. ¶ 10.) Having heard no response, counsel for Hill appeared on August 17, 2023
                                                                  21 and waited approximately 30 minutes for Doe to arrive at the deposition. When Doe
                                                                  22 did not arrive, counsel for Hill took a Notice of Non-Appearance on behalf of Doe.
                                                                  23 (Prescott Decl. ¶ 11).
                                                                  24             In an effort to compel Doe's attendance at her deposition, counsel for Hill
                                                                  25 retained Joe Gerling, local counsel admitted to practice before the United States
                                                                  26 District Court for the Southern District of Ohio to file a Motion to File Under Seal and
                                                                  27 a Motion for Contempt to Compel Compliance with Deposition Subpoena ("Motion
                                                                  28 for Contempt") to compel Doe to sit for her deposition. (Prescott Decl. ¶ 12, Gerling
                                                                                                             4
                                                                       I1938189-1 MER-5137              EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
                                                                                                                              UNREDACTED MOTION FOR CONTEMPT
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                                                                   1 Decl. ¶ 3). Doe lives in the Southern District of Ohio and accordingly this was the
                                                                   2 proper venue to file the Motion to File Under Seal and the Motion for Contempt.
                                                                   3 (Prescott Decl. ¶ 12, Gerling Decl. ¶ 5). Counsel for Hill retained Mr. Gerling and
                                                                   4 specifically instructed him to file a Motion to File Under Seal prior to filing the Motion
                                                                   5 for Contempt in order to: (1) protect Doe's identity which has not been publicly
                                                                   6 disclosed and (2) be able to file the Motion for Contempt to compel the deposition of
                                                                   7 Doe to obtain critical and highly relevant testimony and documents concerning Doe's
                                                                   8 relationship with Bauer without being forced to disclose her identity publicly which
                                                                   9 may violate the Amended Stipulated Protective Order. (Prescott Decl. ¶ 12).
                                                                  10             Prior to retaining Mr. Gerling, he was provided and executed a copy of the
                                                                  11 Amended Stipulated Protective Order currently in force in this Action. (Gerling Decl.
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                                                                  12 3, Exh. A). On August 25, 2023, Mr. Gerling filed the Motion to File Document under
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                                                                  13 Seal in the District Court for the Southern District of Ohio. (Gerling Decl. ¶ 6). The
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                                                                  14 Motion to File Under Seal intentionally did not include the name, address, or any other
                                                                  15 identifying information about Doe in order to protect Doe's privacy. (Id.)
                                                                  16             Unfortunately, Hill's Motion to File Under Seal was denied by United States
                                                                  17 Magistrate Judge Chelsey M. Vascura on August 28, 2023. Judge Vascura issued an
                                                                  18 Order denying the Motion to File Under Seal. In the order, Judge Vascura explained
                                                                  19 that due to the standard regarding motions to seal set forth by the Sixth Circuit, the
                                                                  20 Motion to File Under seal failed to meet the standard. (Gerling Decl. ¶ 7.) Accordingly,
                                                                  21 the Motion for Contempt would need to be filed in an unredacted form with the full
                                                                  22 name of Jane Doe. (Gerling Decl. ¶ 8.) As of the filing of this ex parte application, Mr.
                                                                  23 Gerling has not filed the Motion for Contempt out of a desire to protect the privacy of
                                                                  24 Doe. (Gerling Decl. ¶ 9).
                                                                  25             Counsel for Hill has repeatedly attempted to set the deposition of Doe and Doe
                                                                  26 has repeatedly failed to comply with the subpoenas issued by counsel for Hill. Absent
                                                                  27 an order allowing (1) the Motion for Contempt to be filed in unredacted form in the
                                                                  28 Southern District of Ohio and (2) allowing for a brief extension of the discovery cutoff,
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                                                                       I1938189-1 MER-5137             EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
                                                                                                                             UNREDACTED MOTION FOR CONTEMPT
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                                                                   1 and no other dates including the trial date, for the sole purpose of taking the deposition
                                                                   2 of Doe, Hill will be denied her sole avenue to obtain critical information regarding the
                                                                   3 sexual battery suffered at the hands of Bauer by Doe. Hill therefore respectfully
                                                                   4 requests that this Ex Parte Application be granted.
                                                                   5 II.         LEGAL ARGUMENT
                                                                   6             A.          There Is A Good Cause For Granting This Ex Parte Application
                                                                   7             The Court is permitted to grant ex parte relief upon a showing of “good
                                                                   8 cause.” “Such application shall state the reasons therefore, and may be granted upon
                                                                   9 a showing of good cause.” Semiserve Inc. v. Semicon Servs., LLC, 2014 U.S. Dist.
                                                                  10 LEXIS 198013 (C.D. Cal. 2014.) Federal Rule of Civil Procedure 16(b)(4) states
                                                                  11 that a Scheduling Order “may be modified only for good cause and with the judge's
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                                                                  12 consent.” Fed. R. Civ. P. 16 (b)(4). The “good cause” standard primarily considers
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                                                                  13 the diligence of the party seeking the amendment of the Scheduling Order. Johnson
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                                                                  14 v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). The district court
                                                                  15 may modify the Scheduling Order if the moving party shows that, even with the
                                                                  16 exercise of due diligence, he or she was unable to meet the timetable set forth in the
                                                                  17 order. Id.
                                                                  18             The focus of the inquiry is on the moving party, and if the moving party has
                                                                  19 not been diligent, the motion to modify a Scheduling Order may be denied. Zivkovic
                                                                  20 v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002) (good cause exists “if [the
                                                                  21 schedule] cannot reasonably be met despite the diligence of the party seeking the
                                                                  22 extension”); Johnson, supra, 975 F.2d at 609. Here, good cause exists for the Court
                                                                  23 to continue dates in the Amended Scheduling Order with respect to the discovery
                                                                  24 deadlines for nonexpert and expert discovery.
                                                                  25             In determining whether good cause exists, courts look to see: “(1) that [the
                                                                  26 party] was diligent in assisting the Court in creating a workable Rule 16 order ...; (2)
                                                                  27 that [its] noncompliance with a Rule 16 deadline occurred or will occur,
                                                                  28 notwithstanding [its] diligent efforts to comply, because of the development of
                                                                                                               6
                                                                       I1938189-1 MER-5137                 EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
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                                                                   1 matters which could not have been reasonably foreseen or anticipated at the time of
                                                                   2 the Rule 16 scheduling conference ...; and (3) that [it] was diligent in seeking
                                                                   3 amendment of the Rule 16 order, once it became apparent that [it] could not comply
                                                                   4 with the order.” Jackson v. Laureate, Inc., 186 F.R.D. 605, 608 (E.D. Cal. 1999)
                                                                   5 (citing Eckert Cold Storage, Inc. v. Behl, 943 F. Supp. 1230, 1233 (E.D. Cal. 1996)).
                                                                   6             In this case, Hill acted diligently in attempting to depose Doe. Hill served the
                                                                   7 first subpoena to Doe in May 2023. (Prescott Decl. ¶ 3.) After motion practice
                                                                   8 between Hill and Bauer, the Court ruled that Hill was entitled to take the deposition
                                                                   9 of Doe on June 28, 2023. (Prescott Decl. ¶ 5.) Hill then re-noticed the deposition of
                                                                  10 Doe, made multiple attempts to contact Doe regarding the deposition, and was forced
                                                                  11 to take a Notice of Non-Appearance when Doe still failed to appear. (Prescott Decl.
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                                                                  12 ¶¶ 6-11). Once Doe failed to appear, Hill acted diligently in retaining local counsel
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                                                                  13 to file the Motion to File Under Seal to attempt to compel Doe's compliance with the
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                                                                  14 subpoenas while also protecting her privacy. Out of an abundance of caution, Hill is
                                                                  15 seeking this relief to ensure compliance with the Amended Stipulated Protective
                                                                  16 Order. (Prescott Decl. ¶ 12.)
                                                                  17             Hill has brought this Ex Parte Application with all due diligence, just four
                                                                  18 business days after the Motion to File Under Seal was rejected by the District Court
                                                                  19 for the Southern District of Ohio, in order to obtain an order (1) allowing Hill to file
                                                                  20 the Motion for Contempt and (2) providing a brief extension to the discovery cutoff,
                                                                  21 without changing the trial date or any related dates, to allow for the deposition of
                                                                  22 Doe to move forward.
                                                                  23             B.          Absent an Order Allowing Defendant to File the Motion for
                                                                  24                         Contempt in Unredacted Form and Allowing Defendant Additional
                                                                  25                         Time to Take the Deposition of Doe, Hill Will Be Severely
                                                                  26                         Prejudiced and Irreparably Harmed.
                                                                  27             Because the sole avenue for the critical testimony and documents sought by
                                                                  28 the deposition subpoenas issued to Doe is Doe herself, if the relief requested by Hill
                                                                                                              7
                                                                       I1938189-1 MER-5137                  EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
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                                                                   1 is not granted Hill will be unable to obtain the information. The information at issue
                                                                   2 concerns the prior interactions between Doe and Bauer that are very similar to the
                                                                   3 interactions between Hill and Bauer, i.e. non-consensual sexual acts performed by
                                                                   4 Bauer on Doe.
                                                                   5             Evidence that Bauer has “sexually assaulted” other victims by engaging in
                                                                   6 non-consensual sexual acts with those victims is directly relevant under Rule 415 to
                                                                   7 prove that Bauer has a propensity to engage in such conduct, and in turn, that he
                                                                   8 sexually assaulted Hill in a similar manner while Hill was unconscious or partially
                                                                   9 conscious.
                                                                  10             Rule 415 permits Hill to present evidence of Bauer’s other sexual assaults to
                                                                  11 prove Bauer’s “propensity” to sexually assault Hill. United States v. Redlightning,
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                                                                  12 624 F.3d 1090, 1119 (9th Cir. 2010); United States v. Door, 663 F. App'x 570, 572
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                                                                  13 (9th Cir. 2016); Blind-Doan v. Sanders, 291 F.3d 1079, 1082 (9th Cir. 2002). Fed.
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                                                                  14 R. Evid. 413 (“Rule 413”) (criminal) and Rule 415 (civil) were passed to supersede
                                                                  15 and make an exception to Fed. R. Evid. 404(b), which imposed a blanket prohibition
                                                                  16 on propensity evidence. Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1267-
                                                                  17 68 (9th Cir. 2000); United States v. Guardia, 135 F.3d 1326, 1329 (10th Cir.1998).
                                                                  18             Rule 415 provides that in “a civil case involving a claim for relief based on a
                                                                  19 party’s alleged sexual assault or child molestation, the court may admit evidence
                                                                  20 that the party committed any other sexual assault or child molestation.” Fed. R.
                                                                  21 Evid. 415(a). Rule 415 additionally provides that such “evidence may be considered
                                                                  22 as provided in” Rule 413, which is the criminal counterpart, and “does not limit the
                                                                  23 admission or consideration of evidence under any other rule.” Id. Rule 413 instructs
                                                                  24 that evidence introduced under Rule 415 “may be considered on any matter to which
                                                                  25 it is relevant.” Fed. Rule of Evid. 413(a). That includes defendant’s propensity to
                                                                  26 commit the sexual assault complained of in the underlying civil action. See United
                                                                  27 States v. LeMay, 260 F.3d 1018, 1024 (9th Cir. 2001) (noting that “Rules 413
                                                                  28 through 415 ... remov[e] the longstanding ban on propensity evidence in criminal”
                                                                                                              8
                                                                       I1938189-1 MER-5137              EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
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                                                                   1 and civil trials). Rule 415 allows a litigant to present evidence of both charged and
                                                                   2 uncharged conduct. See McMahon v. Valenzuela, No. 214CV02085CASAGRX,
                                                                   3 2015 WL 7573620, at *3 (C.D. Cal. Nov. 25, 2015)(“Accordingly, the fact that
                                                                   4 plaintiff seeks to admit evidence of allegations (uncharged offenses) does not
                                                                   5 preclude the admission of such evidence under Rule 415.”).
                                                                   6                         1.   The Subpoenas Issued to Doe Seek Admissible Evidence
                                                                   7                              Regarding the Sexual Assault Suffered by Doe
                                                                   8             The deposition subpoenas issued to Doe specifically seek testimony and
                                                                   9 documents concerning her prior sexual assault suffered at the hands of Bauer.
                                                                  10 “Sexual assault,” as defined by Rule 413(d), includes Bauer’s sexual acts while Doe
                                                                  11 was unconscious, even if those Doe initially provided consent. Accordingly, not
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                                                                  12 only is Hill entitled to discover facts that Bauer engaged in certain non-consensual
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                                                                  13 sexual acts with Doe, she is also entitled to discover the circumstances that would
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                                                                  14 render those acts non-consensual, including the fact that Bauer would frequently
                                                                  15 choke Doe during sex until they were unconscious and they could no longer consent.
                                                                  16 Hill is also entitled to discover additional evidence of Bauer’s plan, intent and desire
                                                                  17 to commit those crimes, including his messages to Doe telling Doe he wants to
                                                                  18 engage in sexual conduct with them while they are unconscious.
                                                                  19             Rule 413(d)’s definition of “sexual assault” includes a number of sex crimes
                                                                  20 under both state or federal law. Fed. R. Evid. 413(d). In particular, under Rule
                                                                  21 413(d)(1), “sexual assault” is defined as “a crime under federal law … involving: (1)
                                                                  22 any conduct prohibited by 18 U.S.C. chapter 109A.” Fed. R. Evid. 413(d)(1). Under
                                                                  23 Section 413(d)(1), a defendant’s conduct need not satisfy the jurisdictional
                                                                  24 requirements of chapter 109A to qualify as a sexual assault for purposes of Rule
                                                                  25 413. See United States v. Shaw, No. 22-CR-00105-BLF-1, 2023 WL 2815360, at
                                                                  26 *6-8 (N.D. Cal. Apr. 5, 2023). Rather, Rule 413 only requires that the conduct he
                                                                  27 prohibited by Chapter 109A. See id. (“The words ‘conduct prohibited by’ indicate
                                                                  28 that the Court must look at the conduct of the Defendant, regardless of the location
                                                                                                               9
                                                                       I1938189-1 MER-5137                EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
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                                                                                                   #:5421



                                                                    1 of that conduct.”).
                                                                    2             Additionally, Rule 413’s definition of “sexual assault” also includes any state
                                                                    3 law crime “… involving: (2) contact, without consent, between any part of the
                                                                    4 defendant’s body--or an object--and another person’s genitals or anus; (3) contact,
                                                                    5 without consent, between the defendant's genitals or anus and any part of another
                                                                    6 person's body; [or] (4) deriving sexual pleasure or gratification from inflicting death,
                                                                    7 bodily injury, or physical pain on another person[.]” Fed. R. Evid. 413(d)(2)-(4).
                                                                    8             Here, Doe has accused Bauer of engaging in the exact non-consensual
                                                                    9 criminal sex acts that are considered by Rules 413 and 415. If true, the alleged acts
                                                                   10 performed by Bauer constitute serious criminal conduct that is prohibited by both
                                                                   11 chapter 109A and California law. In particular, Bauer’s non-consensual sex acts
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                                                                   12 with Doe while she was unconscious qualifies as criminal conduct under both
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                                                                   13 chapter 109A and California law. For example, 18 U.S.C.A. § 2241(b)(1), entitled
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                                                                   14 “Aggravated Sexual Abuse,” makes it a crime to knowingly render another person
                                                                   15 unconscious and thereby engage in a “sexual act” with that other person. 18
                                                                   16 U.S.C.A. § 2242(2)(B), entitled “Sexual Abuse,” makes it a crime to knowingly
                                                                   17 engage in a “sexual act” with a person if that other person is “physically incapable
                                                                   18 of declining participation in, or communicating unwillingness to engage in, that
                                                                   19 sexual act.” 18 U.S.C.A. § 2242(3) also makes it a crime to knowingly engage in a
                                                                   20 “sexual act” with a person without that other person’s consent. 18 U.S.C.A. § 2244,
                                                                   21 entitled “Abusive Sexual Contact” makes it a crime to knowingly engage in “sexual
                                                                   22 contact” with another person without that other person’s permission. See 18
                                                                   23 U.S.C.A. § 2244.
                                                                   24             Under California law, even if a victim provides advance consent,
                                                                   25 unconsciousness negates consent because it prevents the victim from withdrawing
                                                                   26 from the activity. See People v. Miranda, 62 Cal. App. 5th 162, 175 (2021)
                                                                   27 (“Because the law does not recognize an unconscious person’s advance consent to a
                                                                   28 rape, making the sexual act a crime, it is a battery to intentionally commit that act
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                                                                        I1938189-1 MER-5137              EX PARTE APPLICATION FOR AN ORDER ALLOWING HILL TO FILE
                                                                                                                               UNREDACTED MOTION FOR CONTEMPT
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                                                                    1 even if there was advance consent. … Where sex with an unconscious person is a
                                                                    2 rape and thus unlawful regardless of consent, it is not reasonable to believe that it is
                                                                    3 lawful, so the touching is a battery, just as it is a rape.”). Moreover, a victim need
                                                                    4 not be “totally and physically unconscious” to negate consent. See People v.
                                                                    5 Ogunmola, 193 Cal. App. 3d 274, 279 (1987); Boro v. Superior Ct., 163 Cal. App.
                                                                    6 3d 1224, 1228 (1985). California Penal Code § 261(a)(4), defines rape to mean
                                                                    7 sexual intercourse when the victim is “unconscious.” California Penal Code §
                                                                    8 289(d), entitled “Forcible acts of sexual penetration; punishment,” criminalizes
                                                                    9 sexual penetration if the victim is “unconscious.”
                                                                   10             Here, Hill has no avenue to obtain the information regarding Bauer's assault
                                                                   11 of Doe besides Doe herself. As discussed above, the information sought is directly
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                                                                   12 relevant and admissible evidence of prior sexual assaults by Bauer against Doe. This
                                  LAKE FOREST, CALIFORNIA 92630




                                                                   13 information is critical to Hill's claims and defenses and ability to prepare for trial,
                                        29 ORCHARD ROAD

                                          (949) 975-1000
                        LAWYERS




                                                                   14 and Hill will be irreparably harmed if she is denied this information. Accordingly,
                                                                   15 Hill has established that absent an order granting the relief sought by this ex parte
                                                                   16 application, Hill will be denied her sole means of obtaining critical and highly
                                                                   17 relevant information concerning Bauer and Doe.
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                                                                    1 III.        CONCLUSION
                                                                    2             Hill has acted diligently to retain local counsel in an attempt to compel Doe's
                                                                    3 attendance at a deposition. Despite Hill's best efforts, Hill has been unable to compel
                                                                    4 Doe's attendance. By issuing an order allowing (1) Hill to file the Motion for Contempt
                                                                    5 in unredacted form in the Southern District of Ohio and (2) allowing a brief
                                                                    6 continuance of the discovery cutoff to allow Hill to take the deposition of Doe, the
                                                                    7 Court will ensure that Hill is able to comply with the Amended Stipulated Protective
                                                                    8 Order, and obtain critical testimony and documents from Doe. Hill therefore
                                                                    9 respectfully requests that this Ex Parte Application For an Order Allowing Hill to File
                                                                   10 the Motion for Contempt in Unredacted Form and for a Continuance of the Discovery
                                                                   11 Cutoff be granted.
WESIERSKI & ZUREK LLP




                                                                   12
                                  LAKE FOREST, CALIFORNIA 92630




                                                                   13 DATED: September 1, 2023                 WESIERSKI & ZUREK LLP
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